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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

JILL CARUSO,                         )
                                     )
                    Plaintiff,       )
                                     )
            v.                       )
                                     )    CASE NO. 1:13-cv-00423-SEB-DKL
LHO INDIANAPOLIS HOTEL               )
ONE, L.L.C., A Foreign Limited       )
Liability Company,                   )
                                     )
                    Defendant.       )

              ORDER GRANTING MOTION TO CONSOLIDATE

      Having reviewed the Joint Motion to Consolidate, and being duly advised, the

Court hereby GRANTS the motion. Cause No. 1:13-cv-01310-SEB-TAB shall be

consolidated into Cause No. 1:13-cv-00423-SEB-DKL. All further proceedings in

these matters shall be conducted under Cause No. 1:13-cv-00423-SEB-DKL.

      SO ORDERED.



Dated: 10/15/2013                                    _______________________________
                                         Judge, United
                                                   DeniseStates
                                                          K. LaRue District Court,
                                                   United States Magistrate Judge
                                         Southern District     of Indiana,
                                                   Southern District of Indiana
                                         Indianapolis Division


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